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                            IN THE UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

                                      )
    In re:                            )                          Chapter 11
                                      )
    CENTER CITY HEALTHCARE, LLC d/b/a )                          Case No. 19-11466 (KG)
    HAHNEMANN UNIVERSITY HOSPITAL, et )
    al.,1                             )                          Jointly Administered
                                      )
                        Debtors.      )                          Re: Docket Nos. 205 and 301
                                      )

         NOTICE OF CANCELLATION OF AUCTION AND DESIGNATION OF
         STC OPCO, LLC AS THE PROPOSED PURCHASER IN CONNECTION
      WITH THE SALE OF SUBSTANTIALLY ALL ASSETS OF ST. CHRISTOPHER’S
             HEALTHCARE, LLC AND CERTAIN RELATED DEBTORS

        PLEASE TAKE NOTICE that on July 16, 2019, the above-captioned debtors and
debtors in possession (the “Debtors”) filed the Debtors’ Motion for Entry of (A) an Order
(I) Scheduling a Hearing to Consider Approval of the Sale or Sales of Substantially All Assets of
St. Christopher’s Healthcare, LLC and Certain Related Debtors and the Assumption and
Assignment of Certain Executory Contracts and Unexpired Leases, (II) Approving Certain
Bidding Procedures, Assumption and Assignment Procedures, and the Form and Manner of
Notice Thereof, (III) Establishing Procedures in Connection with the Selection of and
Protections Afforded to any Stalking Horse Purchasers, and (IV) Granting Related Relief; and
(B) One or More Orders (I) Approving the Sales or Other Acquisition Transactions for the
Assets; (II) Authorizing the Sales Free and Clear of All Encumbrances, (III) Authorizing the
Assumption and Assignment of Certain Executory Contracts and Unexpired Leases, and
(IV) Granting Related Relief (the “Sale Motion”) [D.I. 205].

        PLEASE TAKE FURTHER NOTICE that on July 26, 2019, the United States
Bankruptcy Court for the District of Delaware entered the Order (I) Scheduling a Hearing to
Consider Approval of the Sale or Sales of Substantially All Assets of St. Christopher’s
Healthcare, LLC and Certain Related Affiliates and the Assumption and Assignment of Certain
Executory Contracts and Unexpired Leases, (II) Approving Certain Bidding Procedures,
Assumption and Assignment Procedures, and the Form and Manner of Notice Thereof,
(III) Establishing Procedures in Connection with the Selection of and Protections Afforded to

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             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
             number, are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
             Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of
             PA, L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care
             Center, L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast
             Pediatrics, L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C.
             (5536), TPS IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is
             230 North Broad Street, Philadelphia, Pennsylvania 19102.



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any Stalking Horse Purchasers, and (IV) Granting Related Relief (the “Bidding Procedures
Order”) [D.I. 301] that, among other things, approved the process and procedures (the “Bidding
Procedures”), through which the Debtors solicited bids for the sale of substantially all the assets
of the STC Entities.2

         PLEASE TAKE FURTHER NOTICE that the Debtors have determined, after
consultation with the Consultation Parties, to cancel the auction and designate the bid of STC
Opco, LLC as the proposed purchaser (the “Purchaser”) with respect to the sale of substantially
all assets of St. Christopher’s Healthcare, LLC and certain related Debtors and the assumption
and assignment of certain executory contracts and unexpired leases. Purchaser is a limited
liability company, the members of which are Tower Health and Drexel University. A copy of
the asset purchase agreement with respect to the proposed Sale, including the proposed form of
sale order, is attached hereto as Exhibit A.

       PLEASE TAKE FURTHER NOTICE that counterparties to contracts or leases that
may be assumed and assigned in connection with the Sale may obtain Adequate Assurance
Information by contacting counsel for the Purchaser, Robert Lapowsky, Stevens & Lee, P.C., by
email at RL@stevenslee.com or by telephone at (215) 751-2866, or Vincent J. Marriott III,
Ballard Spahr LLP, by email at marriott@ballardspahr.com or by telephone at (215) 864-8236.

       PLEASE TAKE FURTHER NOTICE that the Sale Hearing remains scheduled to be
held on September 23, 2019 at 1:00 p.m. (Prevailing Eastern Time). At the Sale Hearing, the
Debtors will seek approval of the Sale to the Purchaser.




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             Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the Sale
             Motion, Bidding Procedures Order and Bidding Procedures, as applicable.



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Dated: September 20, 2019                      SAUL EWING ARNSTEIN & LEHR LLP

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                                               Counsel for Debtors and Debtors in Possession




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